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(ev. 193) JUL 17 2019
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United States District Court By: ES Wi apo imak C
Eastern District of Arkansas eh (es CLERK
DEP CLERK"
United States of America )
)
VS. }
. . )
Antonio Lewis ) CaseNo. 8060 4:17CR00111-19M
CONSENT TO MODIFY CONDITIONS OF RELEASE
L Antonio L. Lewis , have discussed with Taylor Smith ', Pretrial Services/

 

 

Probation Officer, modifications of my release conditions as follows:

(} not use alcohol at all.

1 consent to 4 modification of my release conditions and agree to abide by this modification.

Oudanan life LI SLLG

Signature of Defendant Date Date

 

l have reviewed the con sey my clienLand concur that this modification is appropriate.
AK * A fb, Lob
OOD < LAMY

OF me fe eo
Signature of Defense Counsel Daic

 

The Assistant U.S. Attorney Graces C1 does not concur with this modification.

(2-The above modification of conditions of release is ordered, to be effective on / |! } [| .

Oo eee of release is not ordered.
, 1414.

Signature of Judicial Officer oneal Date

 
